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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §        CASE NO. 1:15-CR-19-11
                                                  §
 BURTON PAUL DUPUY                                §


           FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter is referred to the undersigned United States

 Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

 statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28

 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

        On May 29, 2015, this case came before the undersigned magistrate judge for entry of a guilty

 plea by the Defendant, Burton Paul Dupuy, to Count Four of the Indictment. Count Four alleges that

 on or about August 21, 2014, in the Eastern District of Texas and elsewhere, the Defendant, Burton

 Paul Dupuy, and his co-defendant, used the mail, and other facilities in interstate commerce, with

 the intent to promote, manage, establish, carry on and facilitate the promotion, management,

 establishment and carrying on of an unlawful activity, that is, the possession with the intent to

 distribute a controlled substance in violation of 21 U.S.C. § 841(a)(1), and thereafter performed and

 attempted to perform an act to promote, manage, establish and carry on, and to facilitate the

 promotion, management, establishment and carrying on of such unlawful activity, all in violation of

 18 U.S.C. § 1952(a)(3) and 18 U.S.C. § 2.

        The Defendant, Burton Paul Dupuy, entered a plea of guilty to Count Four of the Indictment


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 into the record at the hearing. After conducting the proceeding in the form and manner prescribed

 by Federal Rule of Criminal Procedure 11, the undersigned finds:

         a.      That the Defendant, after consultation with his attorney, has knowingly, freely and

 voluntarily consented to the administration of the guilty plea in this case by a United States

 Magistrate Judge in the Eastern District of Texas, subject to a final approval and imposition of

 sentence by the District Court.

         b.      That the Defendant is fully competent and capable of entering an informed plea, that

 the Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant personally

 in open court, the undersigned determined that the Defendant’s plea is knowing and voluntary and

 did not result from force, threats or promises. See FED. R. CRIM. P. 11(b)(2).

         c.      That the Defendant’s knowing and voluntary plea is supported by an independent

 factual basis establishing each of the essential elements of the offense and the Defendant realizes that

 his conduct falls within the definition of the crime charged under 18 U.S.C. § 1952(a)(3).

                                   STATEMENT OF REASONS

         As factual support for the Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis and Stipulation. In support, the Government would prove that the Defendant is

 the same person charged in the Indictment and that the events described in the Indictment occurred

 in the Eastern District of Texas and elsewhere. The Government would also have proven, beyond

 a reasonable doubt, each and every essential element of the offense as alleged in Count Four of the

 Indictment through the testimony of witnesses, including expert witnesses, and admissible exhibits.

 In support of the Defendant’s plea, the undersigned incorporates the proffer of evidence described

 in detail in the factual basis and stipulation, and the Defendant’s admissions made in open court in


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 response to the undersigned’s further inquiry into the factual basis and stipulation.

        The Defendant agreed with and stipulated to the evidence presented in the factual basis.

 Counsel for the Defendant and the Government attested to the Defendant’s competency and

 capability to enter an informed plea of guilty. The Defendant agreed with the evidence presented

 by the Government and personally testified that he was entering his guilty plea knowingly, freely and

 voluntarily.

                                RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of the Defendant, which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count Four of the Indictment. Accordingly, it is further

 recommended that the District Court finally adjudge the Defendant, Burton Paul Dupuy, guilty of

 the charged offense under 18 U.S.C. § 1952(a)(3).

        The Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. The Defendant has the right to allocute before the District Court

 before imposition of sentence.

                                           OBJECTIONS

        Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file objections

 to this report and recommendation. Objections to this report must: (1) be in writing, (2) specifically

 identify those findings or recommendations to which the party objects, and (3) be served and filed

 within fourteen (14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1)(c)

 (2009); FED. R. CIV. P. 72(b)(2). A party who objects to this report is entitled to a de novo

 determination by the United States District Judge of those proposed findings and recommendations


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 to which a specific objection is timely made. See 28 U.S.C. § 636(b)(1) (2009); FED R. CIV. P.

 72(b)(3).

        A party’s failure to file specific, written objections to the proposed findings of fact and

 conclusions of law contained in this report, within fourteen (14) days of being served with a copy

 of this report, bars that party from: (1) entitlement to de novo review by the United States District

 Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275, 276–77

 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such findings of

 fact and conclusions of law accepted by the United States District Judge, see Douglass v. United

 Servs. Auto. Ass’n, 79 F.3d 1415, at 1428–29 (5th Cir. 1996) (en banc).



       SIGNED this 1st day of June, 2015.




                                                        _________________________
                                                        Zack Hawthorn
                                                        United States Magistrate Judge




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